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 1                                                      THE HONORABLE BENJAMIN H. SETTLE

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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9    COMMANDER EMILY SHILLING, et al.,                     No. 2:25-cv-241-BHS

10                  Plaintiffs,                             JOINT RESPONSE TO THE
                                                            COURT’S ORDER
11          v.

12    DONALD J. TRUMP, in his official capacity as
      President of the United States, et al.,
13
                    Defendants.
14

15          The Court’s March 12, 2025, Minute Order requires the parties “to supplement the present

16   docket with any Talbott submissions that have not yet been submitted here (and indicate the docket

17   number in Talbott), regarding defendants' policies or actions taken in response to the challenged

18   Executive Orders, and military budget data.” Accordingly, the Parties hereby submit the following

19   documents with their corresponding ECF Nos. from the docket in Talbott v. Trump, Case No. 1:25-

20   cv-00240 (D.D.C.):

21
      Exhibit 1           MEPS Email (ECF No. 14-4)
22    Exhibit 2           December 2017 Health Data (ECF No. 38-4)
      Exhibit 3           Defendants’ Response to Court Order (ECF No. 66)
23
      Exhibit 4           CRS Report (ECF No. 66-1)
24    Exhibit 5           Department of Defense Instruction 6130.03 Vol. 2, Medical Standards for
                          Military Service: Retention (ECF No. 72-67)
25    Exhibit 6           Department of Defense Instruction 1332.14, Enlisted Administrative
                          Separations (ECF No. 72-84)
26
     JOINT RESPONSE TO THE                                                              U.S. DEPARTMENT OF
     COURT’S ORDER                                                                             JUSTICE
     CASE NO. 2:25-CV-241-BHS                                                              1100 L Street NW
                                                                                         Washington, DC 20530
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 1   Exhibit 7        Department of Defense Instruction 1332.30, Commissioned Officer
                      Administrative Separations (ECF No. 72-85)
 2
     Exhibit 8        Department of Defense Instruction 1332.18, Disability Evaluation System
 3                    (ECF No. 72-86)
     Exhibit 9        Prioritizing Military Excellence and Readiness: Frequently Asked Questions,
 4                    Off. of the Under Sec’y of Def. for Pers. & Readiness (ECF No. 73-26)
     Exhibit 10       Department of Defense Public Affairs Office Guidance (ECF No. 79-1)
 5

 6
     DATE: March 13, 2025
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     RESPONSE TO THE COURT’S                                            U.S. DEPARTMENT OF
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